        Case 2:20-cv-00302-SCJ Document 321-1 Filed 11/20/23 Page 1 of 1


                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA

                                               )
______________________________,
FAIR FIGHT, INC., ET AL.                       )
                           Plaintiff(s)        )
                                               )      Case No. 2:20-CV-0302-SCJ
                V.                             )
                                               )
______________________________,
TRUE THE VOTE, INC., ET AL                     )
                           Defendant(s)        )


                      NOTICE OF FILING OF OFFICIAL TRANSCRIPT

        Notice is hereby given that an official transcript of a proceeding has been filed by the
court reporter/transcriber in the above-captioned matter. Counsel/Parties have twenty-one (21)
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Redaction of this transcript. If no Request for Redaction is filed, the transcript may be made
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Office public terminal.
                 ______________
                 11/20/23                 __________________________________
                                          Shannon R. Welch, RMR, CRR
                        Date                           Court Reporter


                     VERIFICATION OF FINANCIAL ARRANGEMENTS

       Proceeding Type:       ______________________________________________
                              BENCH TRIAL
                              ______________________________________________
       Proceeding Date:       ______________________________________________
                              10/27/23
                              ______________________________________________
       Volume Number:         ______________________________________________
                              VOL 2 PM
                              ______________________________________________

      Notice is hereby given that financial arrangements for a copy of the transcript have been
made with the following individual(s): UZOMA NKWONTA, MICHAEL WYNNE, DANA PAIKOWSKY

_____________________________________________________________________________
as counsel/party in this case. He/She is to be provided with remote access to the transcript via
CM/ECF and PACER.

                 ______________
                 11/20/23                 __________________________________
                                          Shannon R. Welch, RMR, CRR

                        Date                            Court Reporter
